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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,
                                                             Case No. 09-20523-05
v.                                                           Hon. Thomas L Ludington

CHRISTOPHER THREET,

                  Defendant.
_________________________________________/

ORDER DENYING DEFENDANT’S MOTION TO COMPEL WITNESS ATTENDANCE

       Now before the Court is Defendant Christopher Threet’s motion to compel witness

attendance. ECF Nos. 262, 269. Defendant requests that the Court compel the attendance of Drug

Enforcement Administration (“DEA”) Special Agents Cari Gettel, Scott Nedoff, Robert DeRocher,

and Dave McGovern, Resident Agent in Charge Joseph Schihl, and Task Force Agent John Boismier

as witnesses for the defense at the hearing on Defendant’s motion to suppress. These witnesses were

agents that traveled to Defendant’s last known address to arrest him on January 13, 2011, during

which Defendant’s house and enclosed porch were searched before he signed a consent to search.

       On August 2, 2011, Defendant sent subpoenas to DEA Special Agents Cari Gettel, Scott

Nedoff, Robert DeRocher, and Dave McGovern, Resident Agent in Charge Joseph Schihl, and Task

Force Agent John Boismier . Shortly thereafter, Michelle Gutzmer, Associate Chief Counsel of the

Domestic Criminal Law Section of the DEA, and the United States Attorney’s Office rejected the

subpoenas as inconsistent with the requirements set forth in 28 C.F.R. § 16.21 et seq. and United

States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951).

       On August 16, 2011, Defendant sent additional correspondence in an effort to comply with

the information required by the Touhy regulations. The letter stated, in pertinent part:
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       Our purpose in requesting the presence at said hearing is, in general, to request
       provision of relevant records, if any, and question the agents regarding events
       relative to the issues in the motion to suppress; and, more specifically, to question
       the agents regarding the events leading to and including the entry without a warrant
       onto the curtilage and into said residence, the protective sweep of said residence, and
       the arrest of Mr. Threet and the circumstances surrounding execution of a consent
       to search form, as well as any related issues.

ECF No. 269 Ex. B at 2. On September 23, 2011, Gutzmer and the United States Attorney’s Office

again rejected the subpoenas, citing the factors in 28 C.F.R. § 16.26(a) and (b) as the basis for the

determination.

       Defendant contends that Touhy is inapplicable because, in Touhy, the subpoenaing party was

seeking to enforce a production of evidence and, more specifically, records, and the requests were

made “without limitation.” 340 U.S. at 466. This difference is not a distinction recognized by the

federal courts. See Boeh v. Gates, 25 F.3d 761, 766 (9th Cir. 1994) (“There is no difference in

principle, however, between the power . . . to specify what records a subordinate may release and

the power to specify what information a subordinate may release through testimony.”).

       Moreover, if Defendant is dissatisfied with the DEA’s response to his Touhy request, his

remedy is an action against the DEA pursuant to the Administrative Procedures Act, and not

pursuant to a motion to compel. Boeh v. Gates, 25 F.3d 761, 763-767 (9th Cir. 1994); Swett v.

Schenk, 792 F.2d 1447, 1451 (9th Cir. 1986); Hayes International, Inc. v. United States Dept. of the

Navy, 685 F. Supp. 228, 230 (M.D. Ala 1987). (“[T]he APA governs federal court review of a

federal agency’s decision regarding testimony of the agency’s employees in state court.”). Indeed,

the Touhy regulations operate as a jurisdictional limitation on the Court’s authority, precluding

contempt proceedings without regard to the merits of the agency’s decision to withhold evidence.

Boeh, 25 F.3d at 765; Swett, 792 F.2d at 1452.


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       To the extent Defendant is challenging the rejection of his subpoenas as a violation of his

rights pursuant to the compulsory process clause of the Sixth Amendment, his motion will be denied.

Defendant has not fully complied with the agency’s Touhy regulations and thus may not assert a

constitutional challenge to the regulations. See United States v. Marino, 658 F.2d 1120, 1125 (6th

Cir. 1981). In particular, Defendant has not provided an affidavit “setting forth a summary of the

testimony sought[,]” as required by 28 C.F.R. §16.23(c). Defendant’s letter request contains the

general topic areas of his intended inquiry but does not include a sworn statement summarizing the

testimony he seeks.

       Accordingly, it is ORDERED that Defendant’s motion to compel witness attendance (ECF

No. 262) is DENIED AS MOOT.

       It is further ORDERED that Defendant’s amended motion to compel witness attendance

(ECF No. 269) is DENIED.

                                                       s/Thomas L. Ludington
                                                       THOMAS L. LUDINGTON
                                                       United States District Judge

Dated: November 22, 2011


                                                 PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing order was served
                         upon each attorney or party of record herein by electronic means or first
                         class U.S. mail on November 22, 2011.

                                                           s/Tracy A. Jacobs
                                                           TRACY A. JACOBS




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